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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )              Case No. 8:12CR53
                     Plaintiff,              )
                                             )
       vs.                                   )
                                             )                    ORDER
CHAD BAILLARGEON,                            )
                                             )
                     Defendant.              )


       This case is before the court on the defendant Chad Baillargeon's' Motion for

Sanctions (#48).

       During the May 29, 2012 hearing on the defendant's Motion to Suppress, it became

known to the government and apparent to the parties that certain evidentiary items required

to be disclosed by the government under Rule 16 of the Federal Rules of Criminal

Procedure, had not been produced. The defendants, through counsel, on the record

objected to the government's failure to produce. The court ordered the suppression

hearing be continued and that all required Rule 16 discovery be disclosed.

       On July 12, 2012 the hearing on defendants' motions to suppress was reconvened

and the government disclosed that they had produced additional discovery, specifically, a

cell phone recording of the search of a truck and a cruiser video recorded by a Nebraska

State Patrol trooper which captured a conversation between the trooper and defendant

Baillargeon. At the conclusion of the hearing the court ruled on the motions to suppress

and took the defendant's Motion for Sanctions (#48) under advisement.

       The defendant raises the issue of late production of two items of evidence in

violation of F.R.Crim.P. 16, both the cruiser video and a cell phone video fall under
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Rule 16(a)(1)(A). At all times prior to disclosure, the evidence was in the possession,

custody, or control of the Nebraska State Patrol, and its existence should have been known

to the patrol through the exercise of due diligence.

       At the March 19, 2012 initial appearance of the defendant, I entered an Order for

Progression of a Criminal Case (#19). The order specifically required the government to

comply with Rule 16 obligations, and produce all Rule 16 materials on or before March 26,

2012. Despite the court's order, neither the cruiser video nor the cell phone video were

disclosed before the May 29, 2012 hearing.

       The facts of this case establish a failure to comply with obligations under Rule 16.

The issue before the court then becomes the appropriate sanctions, if any, the court should

assess. On a number of occasions, the Eighth Circuit Court of Appeals has indicated that

the district court must use the least severe sanction which will adequately punish the

government to secure future compliance. United States v. Johnson, 228 F.3d 920, 926 (8th

Cir. 2000); United States v. Flores-Mirales, 112 F.3d 337, 340-41 (8th Cir. 1997). See,

also, Rule 16(d)(2), Fed.R.Crim.P. It is apparent from the facts in this case that while the

government failed to disclose under Rule 16, that it was, in fact, the failure of the Nebraska

State Patrol to disclose the existence of the two videos, that then resulted in the

government's failure to produce. Additionally, a review of the videotapes discloses that

they were of little evidentiary value to the defendant or to the court in deciding the motions

to suppress.

       While I am troubled by the actions of the Nebraska State Patrol and their failure to

disclose the videotapes, I find the fault for the government's failure to timely disclose lies

entirely with the Nebraska State Patrol (this is especially noteworthy as this is not a run-of-

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the-mill drug case, but rather a case involving over 100 kilograms of marijuana), and not

the actions of the Special United States Attorney in this case.

       For all these reasons I find the video recordings should not be excluded and that the

failure to timely produce lies entirely with the Nebraska State Patrol. However, given that

the government now has actual knowledge of the obvious shortcomings of the Nebraska

State Patrol, the government is on notice that they will be held responsible for future

Rule 16 violations even if attributable to the Nebraska State Patrol.

       IT IS ORDERED, that the defendant's Motion for Sanctions (#48), is denied.

       Dated this 2nd day of August 2012.


                                          BY THE COURT:


                                          S/ F.A. Gossett, III
                                          United States Magistrate Judge




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